Case 1:24-cv-00187-JLH-CJB Document 27 Filed 07/19/24 Page 1 of 2 PageID #: 502




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 July 19, 2024

BY CM/ECF
The Honorable Christopher J. Burke
United States District Court
for the District of Delaware
844 N. King Street
Wilmington, DE 19801

                   Re:   OmniVision Technologies, Inc. v. RE Secured Networks, LLC,
                         C.A. No. 24-187-JLH-CJB

Dear Judge Burke:

       Pursuant to the Court’s June 5, 2024 Oral Order (D.I. 22), Plaintiff OmniVision
Technologies, Inc. (“OmniVision”) and Defendant RE Secured Networks, LLC (“RE Secured”)
submit this letter, a copy of Your Honor’s Case Management Checklist (Exhibit A) and a proposed
Scheduling Order (Exhibit B).

Description of the Case

        On February 12, 2024, OmniVision filed its Complaint for declaratory judgment of non-
infringement of U.S. Patent Nos. 7,323,671 and 7,800,145. On May 20, 2024, RE Secured filed
its Answer, Defenses, and Counterclaims. RE Secured denied OmniVision’s claims, and, in its
counterclaims, asserted that OmniVision has infringed U.S. Patent Nos. 7,323,671, 7,800,145, and
6,838,651 (collectively, the “Patents-in-Suit”). OmniVision filed its reply to RE Secured’s
counterclaims on June 10, 2024. The Patents-in-Suit relate to image sensors.

Parties’ Positions Regarding Any Disputed Items in the Scheduling Order

       The parties verbally conferred on July 10, 2024 and July 18, 2024 and have no remaining
disputes regarding the Scheduling Order. The agreed-upon Proposed Scheduling Order is attached
as Exhibit B.

Three Most Significant Topics Discussed

       TOPIC 1: In connection with potential related actions or amendments, RE Secured
disclosed that it may assert additional patents against OmniVision either through amendment to its
counterclaims in this action or a new action. The parties would be receptive to guidance from the
Court regarding moving forward with the assertion of additional patents, and particularly whether




RLF1 31248951v.1
Case 1:24-cv-00187-JLH-CJB Document 27 Filed 07/19/24 Page 2 of 2 PageID #: 503

The Honorable Christopher J. Burke
July 19, 2024
Page 2

the Court has a view as to whether amendment of the present action or a new action is preferable
and, if amendment, how that may impact the schedule or claim construction limits in this case.

         TOPIC 2: In connection with the discussion regarding the identification and production
of core technical documents, OmniVision disclosed that certain of its circuit design files, such as
GDS files, contain highly sensitive information akin to source code, and OmniVision has treated
these files like source code in prior litigation, making them available for inspection rather than
producing electronic copies of the files. To the extent these circuit design files are relevant or
qualify as core technical documents, OmniVision expects to do the same in this case, subject to
the entry and protection of a Protective Order. The parties discussed ways in which they could
work cooperatively to ensure these files are able to be made available in accordance with the
deadline for the production of core technical documents. If OmniVision does not provide these
files to RE Secured in advance of the deadline for initial infringement contentions, RE Secured
will supplement its contentions following OmniVision’s production and RE Secured’s ability to
review and analyze this core technical information.

        TOPIC 3: The parties discussed certain third-party discovery that may be needed in the
case. Specifically, OmniVision is a “fabless” design company and accordingly does not have
documents concerning all details of the fabrication process. To the extent RE Secured seeks
fabrication information that is beyond OmniVision’s possession, custody, or control,
OmniVision’s position is that RE Secured will need to seek this discovery from third-party
fabricators. RE Secured’s position is that OmniVision should promptly produce its agreements
with these fabricators so that RE Secured can determine whether OmniVision has possession,
custody, or control of the fabrication information RE Secured seeks. If not, then the parties will
meet and confer about whether third-party discovery is needed from the third-party fabricators
and, if so, ways in which this discovery could be obtained efficiently.



       If Your Honor has any questions concerning the foregoing, counsel remains available at
the Court’s convenience.

                                             Respectfully,

                                             /s/ Kelly E. Farnan

                                             Kelly E. Farnan (#4395)

cc:      All Counsel of Record (via CM/ECF)




RLF1 31248951v.1
